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    VANDEN BOS & CHAPMAN, LLP
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              Of Attorneys for Debtors-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

     In re                                         Bankruptcy Case Nos.:

     PPV, Inc.                                     19-34517-dwh11 (Lead Case)
     and
     Bravo Environmental NW, Inc.                  19-34518-dwh11

                                                   Jointly Administered Under
                                                   Case No. 19-34517-dwh11

           Debtors-in-Possession.
     PPV, Inc.,                                    Adv. Pro. No. __________

              Plaintiff,                           COMPLAINT (Injunctive Relief)

              vs.

     Libertas Funding LLC, a Connecticut
     limited liability company, EBF Partners,
     LLC dba Everest Business Funding, a
     Delaware limited liability company, and
     Retail Capital LLC dba Credibly, a New
     York limited liability company,

              Defendants.




Page 1 of 8    COMPLAINT (Injunctive Relief)
                                                                           VANDEN BOS & CHAPMAN, LLP
                                                                                       Attorneys at Law
                                                                             319 SW Washington Street, Suite 520
                                                                               Portland, Oregon 97204-2690
                                                                                      (503) 241-4869
                             Case 19-03138-dwh    Doc 1   Filed 12/31/19
                                               INTRODUCTION

              Plaintiff PPV, Inc. is the Debtor and Debtor-in-Possession in the above-captioned

    case (hereinafter “Debtor” or “Plaintiff”). Debtor, by this Complaint, seeks injunctive relief

    prohibiting creditors Libertas Funding LLC (“Libertas”), EBF Partners LLC dba Everest

    Business Funding (“EBF”), and Retail Capital LLC dba Credibly (“Credibly”) (collectively

    referred to as the “Defendants”) from engaging in litigation or collection efforts against the

    Affiliates (as defined below) in state court or in any other forum, or taking any action

    whatsoever to obtain possession or control over the assets of the Affiliates, without an order

    of this Court.

              Debtor alleges:

                                                 PARTIES

              1.     PPV, Inc. is a Debtor and Debtor-in-Possession in this chapter 11 bankruptcy

    case which is jointly administered with the chapter 11 bankruptcy case of Bravo

    Environmental NW, Inc., a subsidiary of PPV, Inc.

              2.     Libertas Funding LLC is a limited liability company duly organized and existing

    under the laws of the State of Connecticut, with its principal place of business in the State of

    Connecticut, and duly authorized to do business in the State of Oregon. Libertas provides

    various types of financing, including asset-based loans, to its borrowers and clients.

              3.     EBF Partners LLC dba Everest Business Funding is a limited liability company

    duly organized and existing under the laws of the State of Delaware. EBF provides various

    types of financing, including asset-based loans, to its borrowers and clients.




Page 2 of 8    COMPLAINT (Injunctive Relief)
                                                                             VANDEN BOS & CHAPMAN, LLP
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                             Case 19-03138-dwh     Doc 1    Filed 12/31/19
              4.     Retail Capital LLC dba Credibly is a limited liability company duly organized

    and existing under the laws of the State of New York. Credibly provides various types of

    financing, including asset-based loans, to its borrowers and clients.

                                        JURISDICTION AND VENUE

              5.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

    1334(b) and 11 U.S.C. § 105(a). This action is a core proceeding pursuant to 28 U.S.C. §§

    157(b)(2)(A) and (O). This proceeding is also within the Court's non-core jurisdiction,

    pursuant to 28 U.S.C. § 157(c)(1) as a matter otherwise related to the bankruptcy case.

              6.     Venue is proper under 28 U.S.C. § 1409.

              7.     This proceeding is brought pursuant to FRBP 7001(7) and 7065.

              8.     Debtor is an Oregon corporation.

              9.     On December 10, 2019, Debtor filed its voluntary petition for relief under

    Chapter 11 of Title 11 of the United States Code (the “Petition Date”).

              10.    This is an adversary proceeding pursuant to 11 U.S.C. § 105(a) to request the

    Court issue a preliminary injunction to enjoin and prohibit Libertas from commencing or

    continuing its efforts to collect from the Affiliates.

                       BACKGROUND OF THE DEBTOR AND ESTATE ASSETS

              9.     James Thuney is the Chief Executive Officer of PPV, Inc., and oversees all

    operations. As CEO, James Thuney is responsible for directing the company’s operations,

    the company’s reorganization, along with other duties too numerous to describe. James

    Thuney is engaged full-time with the operation and reorganization of the Debtor.

              10.    Joseph Thuney is the President of PPV, Inc., and oversees all operations

    along with James Thuney. As President, Joseph Thuney, along with James Thuney, is


Page 3 of 8    COMPLAINT (Injunctive Relief)
                                                                              VANDEN BOS & CHAPMAN, LLP
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                             Case 19-03138-dwh       Doc 1   Filed 12/31/19
    responsible for directing the company’s operations, the company’s reorganization, along

    with other duties too numerous to describe. Joseph Thuney is engaged full-time with the

    operation and reorganization of the Debtor.

              11.    James Thuney and Joseph Thuney are collectively referred to as the

    “Affiliates.”

              12.    Debtor operates a waste-water disposal operation headquartered in

    Multnomah County, OR. Debtor’s waste-water disposal services and other products are

    provided to the public.

              13.    Libertas’s claim against Debtor totals approximately $453,333.00 on the

    Petition Date. EBF’s claim against Debtor totals approximately $271,269.00 on the Petition

    Date. Retail Capital LLC’s claim against Debtor totals approximately $126,621.00 on the

    Petition Date.

              14.    On February 21, 2019, Affiliates executed a Receivables Purchase Agreement

    (the “Credibly Agreement”) with Retail Capital LLC dba Credibly as individuals guaranteeing

    PPV’s performance under the Credibly Agreement. The Debtor therefore requests injunctive

    relief to prohibit Credibly from initiating litigation or collection actions against the Affiliates.

              15.    On August 5, 2019, Affiliates executed a Payment Rights Purchase and Sale

    Agreement (the “EBF Agreement”) with EBF as individuals guaranteeing PPV’s

    performance under the EBF Agreement. The Debtor therefore requests injunctive relief to

    prohibit EBF from initiating litigation or collection actions against the Affiliates.

              16.    On September 23, 2019, Affiliates executed an Agreement of Sale of Future

    Receipts (the “Libertas Agreement”) with Libertas as individuals guaranteeing PPV’s

    performance under the Libertas Agreement. Paragraph 29(c) of the Agreement holds that


Page 4 of 8    COMPLAINT (Injunctive Relief)
                                                                               VANDEN BOS & CHAPMAN, LLP
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                             Case 19-03138-dwh       Doc 1    Filed 12/31/19
    upon the occurrence of an event of default, Libertas may enforce its rights under the

    Agreement by:

                     “Filing the affidavit of confession of judgment (the “Affidavit”)
                     executed by the Guarantor(s), individually and on Merchant’s behalf,
                     in connection with this Agreement in the amount of the undelivered
                     portion of the Sold Amount of Future Receipts, plus the Reasonable
                     Damages, enter the judgment with the Clerk of the Court, without
                     notice, and execute thereon.”

    The Debtor, therefore, requests injunctive relief to prohibit Libertas from filing such an

    affidavit or commencing other litigation or collection actions against the Affiliates.

                                 DEBTOR'S PLAN OF REORGANIZATION

              17.    The anticipated plan of reorganization will provide for the Debtor to continue its

    business operations.

              18.    The Affiliates are integral to the Debtor's day-to-day business operations.

              19.    The Affiliates participation and involvement in the daily operation of the Debtor

    are essential for the success of the reorganization. If the Affiliates are disrupted from their

    duties in the reorganization of the debtor by the litigation (and its attendant discovery

    preparation, depositions, numerous meetings with counsel, requisite mediation and pre-trial

    hearings, et al.), the prospect of a successful reorganization will be in doubt.

              20.    In addition, the Debtor’s operations and plan of reorganization will require

    contributions of money or money's worth from the Affiliates. Their contributions will have

    significant value to the Debtor’s bankruptcy estate.

              21.    The Affiliates' complete and total cooperation in contributing the assets for the

    payments of claims of all creditors in this case is essential to the Debtor's ongoing efforts to

    propose a confirmable plan that is in the best interest of all creditors and the estate.

    Requiring the Affiliates to defend claims asserted against them during the bankruptcy case

Page 5 of 8    COMPLAINT (Injunctive Relief)
                                                                              VANDEN BOS & CHAPMAN, LLP
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                             Case 19-03138-dwh      Doc 1    Filed 12/31/19
    would both interfere with and irreparably impair the Debtor's ability to accomplish those

    goals.

              22.    If the Affiliates are forced to spend time and resources defending lawsuits or

    collection actions brought against them by the Defendants in order to protect themselves

    and their assets, those assets will necessarily be depleted by defense costs and the

    Affiliates’ ability to contribute those assets to a plan and this case could be severely limited.

              23.    The assets which the Affiliates will contribute to the Debtor are essential to

    ensure a plan that provides for the maximum distribution to creditors. Without those assets,

    it is very likely the estate will have insufficient assets to pay all claims in full.

              24.    The Debtor anticipates that its chapter 11 plan will be filed on or before April 8,

    2020.

                                           CLAIM FOR RELIEF
                               (Preliminary Injunction Pursuant to § 105(a))

              25.    Debtor hereby repeats and realleges the allegations set forth in the preceding

    paragraphs as though fully set forth herein and incorporates the same herein by this

    reference.

              26.    A bankruptcy court has the power of issue any order, process or judgment

    necessary to carry out the provisions of the Bankruptcy Code.

              27.    Pursuant to § 105(a), the bankruptcy court may issue an order staying actions

    against non-debtor entities.

              28.    Libertas's potential filing of affidavits of confession of judgment against the

    Affiliates or the commencement of any collection action or litigation on behalf of the

    Defendants against the Affiliates will cause irreparable harm to the Debtor.




Page 6 of 8    COMPLAINT (Injunctive Relief)
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                             Case 19-03138-dwh       Doc 1     Filed 12/31/19
              29.    The interests of the Debtor and the Affiliates are inextricably intertwined, and

    any collective action or litigation action against the Affiliates will distract the Affiliates from

    participating in the reorganization process to the detriment of the estate and all of the

    creditors.

              30.    Unless enjoined, the Defendants’ conduct will irreparably harm the Debtor by

    depleting or eliminating a crucial source of funding to pay claims.

              31.    Debtor anticipates that its plan of reorganization, including the contributions of

    the Affiliates, will allow it to repay 100% of all outstanding debts, including the Defendants’

    allowed claims.

              32.    The Debtor has a reasonable likelihood of a successful reorganization.

              33.    Plaintiff and the Affiliates are entitled to preliminary injunctive relief enjoining

    the Defendants from taking any action to pursue their claims against the Affiliates.

              34.    The injunctive relief requested herein will not prejudice or harm the

    Defendants.

              35.    Issuance of injunctive relief will serve the public interest in that it will protect

    the integrity of the Chapter 11 process and the goal of equal distribution to all similarly

    situated creditors.

              36.    Debtor lacks an adequate remedy at law. If Libertas's filing of the affidavit of

    judgment as contemplated in the Agreement is permitted to proceed, or if the Defendants

    are allowed to bring other litigation or collection actions against the Affiliates, it will result in

    the loss to the estate of the Affiliates assets, the disruption or possible failure of the

    reorganization effort, and the Debtor will not have the ability to utilize those same assets in

    a plan to provide an equal distribution to all similarly situated creditors.


Page 7 of 8    COMPLAINT (Injunctive Relief)
                                                                                 VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
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                                                                                             (503) 241-4869
                             Case 19-03138-dwh         Doc 1    Filed 12/31/19
    WHEREFORE, the Debtor respectfully requests relief as follows:

              1.     An Order, substantially in the form of the Proposed Order attached hereto as

    Exhibit A, granting preliminary injunctive relief enjoining and prohibiting the Defendants

    from engaging in litigation or collection efforts against the Affiliates without an order of this

    Court, pending confirmation of a plan;

              2.     An Order, substantially in the form of the Proposed Order attached hereto as

    Exhibit A, staying Libertas from filing an affidavit of confession of judgment with the Clerk of

    the Court as contemplated in the Libertas Agreement; and

              3.     For such other and further relief as the Court deems just and proper.

                                               Respectfully submitted;

     DATED: December 31, 2019                  VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                  Douglas R. Ricks, OSB #044026
                                                  Of Attorneys for Debtors-in-Possession




Page 8 of 8    COMPLAINT (Injunctive Relief)
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                                                                                          Attorneys at Law
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                             Case 19-03138-dwh     Doc 1    Filed 12/31/19
                             IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                      Bankruptcy Case Nos.:

       PPV, Inc.                                  19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.               19-34518-dwh11

                                                  Jointly Administered Under
                                                  Case No. 19-34517-dwh11

             Debtors-in-Possession.
       PPV, Inc.,                                 Adv. Pro. No. __________

               Plaintiff,                         [PROPOSED] ORDER

               vs.

       Libertas Funding LLC, a Connecticut
       limited liability company, EBF Partners,
       LLC dba Everest Business Funding, a
       Delaware limited liability company, and
       Retail Capital LLC dba Credibly, a New
       York limited liability company,

               Defendants.



Page 1 of 3     [PROPOSED] ORDER                                               VANDEN BOS & CHAPMAN, LLP
                                                                                          Attorneys at Law
                                                                                 319 SW Washington Street, Suite 520
                                                                                    Portland, Oregon 97204-2690
                                                                                           (503) 241-4869
      Exhibit A - Page 1 of 3
                             Case 19-03138-dwh    Doc 1   Filed 12/31/19
              THIS MATTER came before the Court on December __, 20__ on PPV, Inc.’s

      ("Plaintiff" and/or "Debtor") Motion for a Preliminary Injunction under Section 105 of the

      Bankruptcy Code (Docket No. __, the "Motion") seeking to enjoin Libertas Funding LLC,

      EBF Partners LLC dba Everest Business Funding, and Retail Capital LLC dba Credibly

      (collectively referred to as the "Defendants") from initiating or continuing litigation or

      collection actions without an order from this Court. The Court took evidence, heard the

      arguments of counsel and having entered its Findings and Conclusions Re Preliminary

      Injunction (Docket No. __), it is:

              ORDERED as follows:

              1.    The Motion is granted and Defendants are enjoined from commencing or

      continuing litigation or collection actions subject to the conditions stated in this order,

      including the filing of any affidavits of confession of judgment.

              2.    The injunction will last only until Debtor confirms a plan, or 90 days from the

      date of the entry of this Order, whichever is shorter.

              3.    The Affiliates (as defined in the Motion) are enjoined from transferring or

      otherwise disposing of any assets outside the ordinary course of business or the ordinary

      course of their personal family or household affairs, so long as the injunction is in place.

              4.    Motion practice not utilizing any declarations or affidavits is not enjoined,

      because such practice involves lawyer effort and does not affect the guarantors other than

      economically.




Page 2 of 3    [PROPOSED] ORDER                                                      VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
                                                                                       319 SW Washington Street, Suite 520
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                                                                                                 (503) 241-4869
      Exhibit A - Page 2 of 3
                             Case 19-03138-dwh       Doc 1     Filed 12/31/19
                                                   ###


       PRESENTED BY:                                       First Class Mail:

       VANDEN BOS & CHAPMAN, LLP                           PPV, Inc.
                                                           Attn: George Sullivan
                                                           4927 NW Front Ave.
       By:/s/Douglas R. Ricks                              Portland, OR 97201
          Douglas R. Ricks, OSB #044026
          Of Attorneys for Debtors-in-Possession           Bravo Environmental NW, Inc.
                                                           Attn: George Sullivan
       LBR 9021-1 CERTIFICATION                            4927 NW Front Ave.
       I certify that I have complied with the             Portland, OR 97201
       requirement of LBR 9021-1(a); order was attached
       to Motion as a proposed order.                   Libertas Funding LLC
                                                        Attn: Jessica Patrovic
                                                        382 Greenwich Ave. Ste. 2
       By:/s/Douglas R. Ricks                           Taftville, CT 06380
           Douglas R. Ricks, OSB #044026
                                                        EBF Partners, LLC dba Everest
                                                        Business Funding
                                                        5 West 37th St. Ste. 1100
                                                        New York, NY 10018

                                                           Retail Capital LLC dba Credibly
                                                           4026 N Miller Road, Ste. 200
                                                           Scottsdale, AZ 85251

                                                           Electronic Mail:

                                                           The foregoing was served on all
                                                           CM/ECF participants through the
                                                           Court's Case Management/Electronic
                                                           Case File system




Page 3 of 3   [PROPOSED] ORDER                                                 VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
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      Exhibit A - Page 3 of 3
                           Case 19-03138-dwh       Doc 1   Filed 12/31/19
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               Of Attorneys for Debtors-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                        Bankruptcy Case Nos.:

       PPV, Inc.                                    19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.                 19-34518-dwh11

                                                    Jointly Administered Under
                                                    Case No. 19-34517-dwh11

             Debtors-in-Possession.
       PPV, Inc.,                                   Adv. Pro. No. __________

               Plaintiff,                           DECLARATION OF JAMES THUNEY IN
                                                    SUPPORT OF MOTION FOR TEMPORARY
               vs.                                  RESTRAINING ORDER AND MOTION FOR
                                                    ORDER TO SHOW CAUSE
       Libertas Funding LLC, a Connecticut
       limited liability company, EBF Partners,
       LLC dba Everest Business Funding, a
       Delaware limited liability company, and
       Retail Capital LLC dba Credibly, a New
       York limited liability company,

               Defendants.




Page 1 of 4     DECLARATION OF JAMES THUNEY IN SUPPORT OF MOTION FOR             VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
                TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER TO                319 SW Washington Street, Suite 520
                SHOW CAUSE                                                            Portland, Oregon 97204-2690
                                                                                             (503) 241-4869



                             Case 19-03138-dwh     Doc 1   Filed 12/31/19
              I, James Thuney, declare:

              1.    Except as otherwise stated herein, I make this declaration based on my own

      personal knowledge, from my review of the books and records of the Debtor, and on

      information and belief. I am over 18 years of age and competent to testify to the matters

      stated herein.

              2.    I am the Chief Executive Officer of the Debtor.

              3.    Debtor operates a waste-water disposal operation headquartered in

      Multnomah County, OR. Debtor’s waste-water disposal services and other products are

      provided to the public.

              4.    Debtor has engaged in continued business operations as Debtor-in-

      Possession. The Debtor is generating revenue and paying its post-petitions debts in the

      ordinary course of business.

              5.    Libertas Funding LLC, EBF Partners LLC dba Everest Business Funding, and

      Retail Capital LLC dba Credibly (collectively referred to as the “Defendants”) each have a

      receivables purchase agreement with the Debtor in which Joseph Thuney and I are

      guarantors.

              6.    On February 21, 2019, Joseph Thuney and I executed a Receivables

      Purchase Agreement with Retail Capital LLC dba Credibly as individuals guaranteeing

      PPV’s performance under the Credibly Agreement.

              7.    On March 4, 2019 and August 5, 2019, Joseph Thuney and I executed

      Payment Rights Purchase and Sale Agreements with EBF as individuals guaranteeing

      PPV’s performance under the EBF Agreements.




Page 2 of 4    DECLARATION OF JAMES THUNEY IN SUPPORT OF MOTION FOR             VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
               TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER TO                319 SW Washington Street, Suite 520
               SHOW CAUSE                                                            Portland, Oregon 97204-2690
                                                                                            (503) 241-4869



                            Case 19-03138-dwh      Doc 1   Filed 12/31/19
              8.    On September 23, 2019, Joseph Thuney and I executed an Agreement of

      Sale of Future Receipts with Libertas as individuals guaranteeing PPV’s performance under

      the Libertas Agreement. Paragraph 29(c) of the Agreement holds that upon the occurrence

      of an event of default, Libertas may enforce its rights under the Agreement by filing an

      affidavit of confession of judgment.

              9.    Joseph Thuney and I have advised the Debtor that we are willing to make

      substantial contributions of value in the form of money or money’s worth to aid in the

      reorganization and performance of a plan which will likely pay 100% of creditors in a plan

      proposed in Debtor’s bankruptcy case.

              10.   Litigation or collection actions by the Defendants against Joseph Thuney or

      myself would seek recovery, for the benefit of Defendants only, against many of the same

      assets the Joseph Thuney and I have voluntarily agreed to provide to the Debtor for

      payment of claims in this case.

              11.   Debtor’s objective is to propose a confirmable plan under which all creditors

      will be paid in full. I believe that the complete and total cooperation of Joseph Thuney and

      myself in contributing assets as necessary to the payment of claims of all creditors in this

      case is essential to the Debtor’s ongoing efforts to propose a confirmable plan that is in the

      best interest of all creditors and the estate. I further believe that if the we are forced to

      spend time and resources defending lawsuits brought against us by the Defendants in order

      to protect our assets, those assets will necessarily be depleted by defense costs and our

      ability to contribute those assets to a plan in this case could be severely limited.

              12.   The assets which the Joseph and I have agreed to contribute to the Debtor are

      absolutely essential to the Debtor’s ability to propose a plan that provides for the maximum


Page 3 of 4    DECLARATION OF JAMES THUNEY IN SUPPORT OF MOTION FOR                  VANDEN BOS & CHAPMAN, LLP
                                                                                                Attorneys at Law
               TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER TO                     319 SW Washington Street, Suite 520
               SHOW CAUSE                                                                 Portland, Oregon 97204-2690
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                            Case 19-03138-dwh        Doc 1    Filed 12/31/19
      distribution to creditors. Based on my review of the currently available estate assets

      including, but not limited to, funds on deposit, inventory and work in progress, I believe it is

      likely the estate will have insufficient assets to pay all claims in full unless it is able to realize

      value from the assets which we intend to contribute.

              13.    The participation and involvement of Joseph Thuney and I in the bankruptcy

      case are essential for the success of the reorganization. If Joseph and I are forced to spend

      time and resources defending lawsuits or collection actions brought against us by the

      Defendants in order to protect our assets, those assets will necessarily be depleted by

      defense costs and our ability to contribute those assets to a plan and this case could be

      severely limited.

              14.    As President and CEO, respectively, I believe that Joseph Thuney and I are

      integral to the Debtor's day-to-day business operations.

              15.    If Joseph and I are disrupted from our duties in the reorganization of the

      Debtor by the litigation, the prospect of a successful reorganization will be in doubt.

              I declare under penalty of perjury under the laws of the United States of America and

      the State of Oregon that the foregoing is true and correct.

      DATED: December 20, 2019



                                                  /s/James Thuney
                                                  James Thuney, Declarant




Page 4 of 4    DECLARATION OF JAMES THUNEY IN SUPPORT OF MOTION FOR                    VANDEN BOS & CHAPMAN, LLP
                                                                                                  Attorneys at Law
               TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER TO                       319 SW Washington Street, Suite 520
               SHOW CAUSE                                                                   Portland, Oregon 97204-2690
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                                                    Jointly Administered Under
                                                    Case No. 19-34517-dwh11

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       PPV, Inc.,                                   Adv. Pro. No. __________

               Plaintiff,                           DECLARATION OF JOSEPH THUNEY IN
                                                    SUPPORT OF MOTION FOR TEMPORARY
               vs.                                  RESTRAINING ORDER AND MOTION FOR
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               Defendants.




Page 1 of 4     DECLARATION OF JOSEPH THUNEY IN SUPPORT OF MOTION FOR            VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
                TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER TO                319 SW Washington Street, Suite 520
                SHOW CAUSE                                                            Portland, Oregon 97204-2690
                                                                                             (503) 241-4869



                             Case 19-03138-dwh     Doc 1   Filed 12/31/19
              I, Joseph Thuney, declare:

              1.    Except as otherwise stated herein, I make this declaration based on my own

      personal knowledge, from my review of the books and records of the PPV, Inc. (the

      “Debtor”), and on information and belief. I am over 18 years of age and competent to testify

      to the matters stated herein.

              2.    I am the President of the Debtor.

              3.    Debtor operates a waste-water disposal operation headquartered in

      Multnomah County, OR. Debtor’s waste-water disposal services and other products are

      provided to the public.

              4.    Debtor has engaged in continued business operations as Debtor-in-

      Possession. The Debtor is generating revenue and paying its post-petitions debts in the

      ordinary course of business.

              5.    Libertas Funding LLC, EBF Partners LLC dba Everest Business Funding, and

      Retail Capital LLC dba Credibly (collectively referred to as the “Defendants”) each have a

      receivables purchase agreement with the Debtor in which James Thuney and I are

      guarantors.

              6.    On February 21, 2019, James Thuney and I executed a Receivables Purchase

      Agreement with Retail Capital LLC dba Credibly as individuals guaranteeing PPV’s

      performance under the Credibly Agreement.

              7.    On March 4, 2019 and August 5, 2019, James Thuney and I executed

      Payment Rights Purchase and Sale Agreements with EBF as individuals guaranteeing

      PPV’s performance under the EBF Agreements.




Page 2 of 4    DECLARATION OF JOSEPH THUNEY IN SUPPORT OF MOTION FOR            VANDEN BOS & CHAPMAN, LLP
                                                                                           Attorneys at Law
               TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER TO                319 SW Washington Street, Suite 520
               SHOW CAUSE                                                            Portland, Oregon 97204-2690
                                                                                            (503) 241-4869



                            Case 19-03138-dwh     Doc 1    Filed 12/31/19
              8.    On September 23, 2019, James Thuney and I executed an Agreement of Sale

      of Future Receipts with Libertas as individuals guaranteeing PPV’s performance under the

      Libertas Agreement. Paragraph 29(c) of the Agreement holds that upon the occurrence of

      an event of default, Libertas may enforce its rights under the Agreement by filing an affidavit

      of confession of judgment.

              9.    James Thuney and I have advised the Debtor that we are willing to make

      substantial contributions of value in the form of money or money’s worth to aid in the

      reorganization and performance of a plan which will likely pay 100% of creditors in a plan

      proposed in Debtor’s bankruptcy case.

              10.   Litigation or collection actions by the Defendants against James Thuney or

      myself would seek recovery, for the benefit of Defendants only, against many of the same

      assets that James Thuney and I have voluntarily agreed to provide to the Debtor for

      payment of claims in this case.

              11.   Debtor’s objective is to propose a confirmable plan under which all creditors

      will be paid in full. I believe that the complete and total cooperation of James Thuney and

      myself in contributing assets as necessary to the payment of claims of all creditors in this

      case is essential to the Debtor’s ongoing efforts to propose a confirmable plan that is in the

      best interest of all creditors and the estate. I further believe that if the we are forced to

      spend time and resources defending lawsuits brought against us by the Defendants in order

      to protect our assets, those assets will necessarily be depleted by defense costs and our

      ability to contribute those assets to a plan in this case could be severely limited.

              12.   The assets which the James and I have agreed to contribute to the Debtor are

      absolutely essential to the Debtor’s ability to propose a plan that provides for the maximum


Page 3 of 4    DECLARATION OF JOSEPH THUNEY IN SUPPORT OF MOTION FOR                 VANDEN BOS & CHAPMAN, LLP
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                            Case 19-03138-dwh        Doc 1    Filed 12/31/19
      distribution to creditors. Based on my review of the currently available estate assets

      including, but not limited to, funds on deposit, inventory and work in progress, I believe it is

      likely the estate will have insufficient assets to pay all claims in full unless it is able to realize

      value from the assets which we intend to contribute.

              13.    The participation and involvement of James Thuney and I in the bankruptcy

      case are essential for the success of the reorganization. If James and I are forced to spend

      time and resources defending lawsuits or collection actions brought against us by the

      Defendants in order to protect our assets, those assets will necessarily be depleted by

      defense costs and our ability to contribute those assets to a plan and this case could be

      severely limited.

              14.    As CEO and President, respectively, I believe that James Thuney and I are

      integral to the Debtor's day-to-day business operations.

              15.    If James and I are disrupted from our duties in the reorganization of the Debtor

      by the litigation, the prospect of a successful reorganization will be in doubt.

              I declare under penalty of perjury under the laws of the United States of America and

      the State of Oregon that the foregoing is true and correct.

      DATED: December 20, 2019



                                                  /s/Joseph Thuney
                                                  Joseph Thuney, Declarant




Page 4 of 4    DECLARATION OF JOSEPH THUNEY IN SUPPORT OF MOTION FOR                   VANDEN BOS & CHAPMAN, LLP
                                                                                                  Attorneys at Law
               TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER TO                       319 SW Washington Street, Suite 520
               SHOW CAUSE                                                                   Portland, Oregon 97204-2690
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                             Case 19-03138-dwh         Doc 1    Filed 12/31/19
      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtors-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                        Bankruptcy Case Nos.:

       PPV, Inc.                                    19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.                 19-34518-dwh11

                                                    Jointly Administered Under
                                                    Case No. 19-34517-dwh11

             Debtors-in-Possession.
       PPV, Inc.,                                   Adv. Pro. No. __________

               Plaintiff,                           DECLARATION OF DOUGLAS R. RICKS IN
                                                    SUPPORT OF MOTION FOR TEMPORARY
               vs.                                  RESTRAINING ORDER AND MOTION FOR
                                                    ORDER TO SHOW CAUSE
       Libertas Funding LLC, a Connecticut
       limited liability company, EBF Partners,
       LLC dba Everest Business Funding, a
       Delaware limited liability company, and
       Retail Capital LLC dba Credibly, a New
       York limited liability company,

               Defendants.




Page 1 of 3     DECLARATION OF DOUGLAS R. RICKS IN SUPPORT OF MOTION             VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
                FOR TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER               319 SW Washington Street, Suite 520
                TO SHOW CAUSE                                                         Portland, Oregon 97204-2690
                                                                                             (503) 241-4869



                             Case 19-03138-dwh     Doc 1   Filed 12/31/19
              I, Douglas R. Ricks, declare:

              1.    Except as otherwise stated herein, I make this declaration based on my own

      personal knowledge and on information and belief. I am over 18 years of age and

      competent to testify to the matters stated herein.

              2.    I am the bankruptcy counsel for the Debtors-in-Possession.

              3.    PPV, Inc. (the “Debtor”) operates a waste-water disposal operation

      headquartered in Multnomah County, OR. Debtor’s waste-water disposal services and other

      products are provided to the public.

              4.    Debtor has engaged in continued business operations as Debtor-in-

      Possession. The Debtor is generating revenue and paying its post-petition debts in the

      ordinary court of business.

              5.    I believe that the Court should grant the Plaintiff’s Motion for Temporary

      Restraining Order as the Defendants are merchant cash advance (MCA) lenders, a type of

      lender notorious for their aggressive collection tactics which, I believe, present a very clear

      and present danger to the reorganization efforts of the Debtor.

              6.    To wit, I have attached parts 1 and 5 of Bloomberg Businessweek’s

      investigative series “Sign Here to Lose Everything” as Exhibits A and B. This investigative

      series highlights the ultra-aggressive collection tactics employed by MCA lenders, including

      the use of confessions of judgment, such as the one Libertas has against James Thuney

      and Joseph Thuney, which, if used, will divert funds which are to be provided by the

      Thuneys for use by the bankruptcy estate in its reorganization efforts and will instead be

      used to defend against the aggressive collection tactics likely to be deployed by the

      Defendants.


Page 2 of 3    DECLARATION OF DOUGLAS R. RICKS IN SUPPORT OF MOTION                VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
               FOR TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER                  319 SW Washington Street, Suite 520
               TO SHOW CAUSE                                                            Portland, Oregon 97204-2690
                                                                                               (503) 241-4869



                            Case 19-03138-dwh       Doc 1    Filed 12/31/19
              7.    As such, in order to protect James Thuney and Joseph Thuney from

      aggressive collection tactics and, therefore, protect the funds to be contributed to the estate

      by the Thuneys which will be critical to the reorganization efforts of the Debtor, I implore the

      Court to grant the Motion for Temporary Restraining Order and Motion for Order to Show

      Cause.

              I declare under penalty of perjury under the laws of the United States of America and

      the State of Oregon that the foregoing is true and correct.

      DATED: December 30, 2019



                                                /s/Douglas R. Ricks
                                                Douglas R. Ricks, Declarant




Page 3 of 3    DECLARATION OF DOUGLAS R. RICKS IN SUPPORT OF MOTION                VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
               FOR TEMPORARY RESTRAINING ORDER AND MOTION FOR ORDER                  319 SW Washington Street, Suite 520
               TO SHOW CAUSE                                                            Portland, Oregon 97204-2690
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               Sign Here to Lose Everything
                                    Part 1


           “I Hereby
           Confess
         Judgment”
 Exhibit A - Page 1 of 15
                      Case 19-03138-dwh   Doc 1   Filed 12/31/19
How an obscure legal document turned New York’s
system into a debt-collection machine that’s chew
          small businesses across America.


                   Story by Zachary R. Mider and Zeke Faux
              Data analysis by David Ingold and Demetrios Pogkas
                              November 20, 2018




 Look out, the stranger on the phone warned. They’re coming for you.
     The caller had Janelle Duncan’s attention. Perpetually peppy at 53, with sparkly
 jewelry and a glittery manicure, Duncan was running a struggling Florida real
 estate agency with her husband, Doug. She began each day in prayer, a vanilla latte
 in her hand and her Maltese Shih Tzu, Coco, on her lap, asking God for business to
 pick up. She’d answered the phone that Friday morning in January hoping it would
 be a new client looking for a home in the Tampa suburbs.
     The man identiﬁed himself as a debt counselor. He described a bizarre legal
 proceeding that he said was targeting Duncan without her knowledge. A lender
 called ABC had ﬁled a court judgment against her in the state of New York and was
 planning to seize her possessions. “I’m not sure if they already froze your bank
 accounts, but they are RIGHT NOW moving to do just that,” he’d written in an email
 earlier that day. He described the lender as “EXTREMLY AGGRESSIVE.” Her only
 hope, the man said, was to pull all her money out of the bank immediately.
     His story sounded ﬁshy to the Duncans. They had borrowed $36,762 from a
 company called ABC Merchant Solutions LLC, but as far as they knew they were
 paying the money back on schedule. Doug dialed his contact there and was assured
 all was well. They checked with a lawyer; he was skeptical, too. What kind of legal
 system would allow all that to happen 1,000 miles away without notice or a
 hearing? They shrugged oﬀ the warning as a scam.
     But the caller was who he said he was, and everything he predicted came true.
 The following Monday, Doug logged in at the oﬃce to discover he no longer had
 access to his bank accounts. A few days on, $52,886.93 disappeared from one of
 them. The loss set oﬀ a chain of events that culminated a month later in ﬁnancial

    Exhibit A - Page 2 of 15
                         Case 19-03138-dwh   Doc 1   Filed 12/31/19
                                                         ruin. Not long after her agency went
                                                         bankrupt, Janelle collapsed and was
                                                         rushed to the hospital, vomiting bile.
                                                             As the Duncans soon learned, tens
                                                         of thousands of contractors, ﬂorists,
                                                         and other small-business owners
                                                         nationwide were being chewed up by
                                                         the same legal process. Behind it all
                                                         was a group of ﬁnanciers who lend
                                                         money at interest rates higher than
                                                         those once demanded by Maﬁa loan
                                                         sharks. Rather than breaking legs,
                                                         these lenders have co-opted New
                                                         York’s court system and turned it into a
                                                         high-speed debt-collection machine.
                                                         Government oﬃcials enable the whole
                                                         scheme. A few are even getting rich
                                                         doing it.
                                                             The lenders’ weapon of choice is
▲ Featured in Bloomberg Businessweek, Nov. 26, 2018.
                                                         an arcane legal document called a
Subscribe now. PHOTOGRAPHER: JAMIE CHUNG FOR             confession of judgment. Before
BLOOMBERG BUSINESSWEEK

borrowers get a loan, they have to sign a
statement giving up their right to defend
themselves if the lender takes them to
court. It’s like an arbitration agreement,
except the borrower always loses.
Armed with a confession, a lender can,
without proof, accuse borrowers of not
paying and legally seize their assets
before they know what’s happened. Not
surprisingly, some lenders have abused
this power. In dozens of interviews and
court pleadings, borrowers describe
lenders who’ve forged documents, lied
about how much they were owed, or
fabricated defaults out of thin air.                           Janelle and Doug Duncan
    “Somebody just comes in and rips
everything out,” Doug said one evening                  “Somebody just comes in
in August, pulling up a stool at a                       and rips everything out.
Starbucks and recounting the events that
   Exhibit A - Page 3 of 15
                             Case 19-03138-dwh         Doc 1   Filed 12/31/19
killed the Duncans’ business. After a           It’s cannibalized our
long day spent selling houses for another
company, the name tag pinned to his                      whole life”
shirt had ﬂipped upside down like a distress signal. “It’s cannibalized our whole
life.”



            Bloomberg

            "I Hereby Confess Judgment" Read Aloud                             Share




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Confessions of judgment have been part of English common law since the Middle
Ages, intended as a way to enforce debts without the fuss and expense of trial.
Concerns about their potential abuse are almost as old. In Charles Dickens’s 1837
novel The Pickwick Papers, a landlady who’s tricked into signing one ends up in
debtors’ prison. Some U.S. states outlawed confessions in the middle of the 20th
century, and federal regulators banned them for consumer loans in 1985. But New
York still allows them for business loans.
    For David Glass, they were the solution to a problem: People were stealing his
money. Among the hustlers and con men who work the bottom rungs of Wall
Street, Glass is a legend. Before he was 30, he’d inspired the stock-scam movie
Boiler Room. Later busted by the FBI for insider trading, he avoided prison by
recording incriminating tapes of his old colleagues. Even his enemies say Glass,
who declined to comment for this story, is one of the sharpest operators they’ve
ever dealt with.
    In 2009, while still on probation, Glass and a friend named Isaac Stern started a
company called Yellowstone Capital LLC. (ABC, the ﬁrm that wiped out the
Duncans, is one of more than a dozen corporate names used by Yellowstone’s sales
force.) Operating out of a red-walled oﬃce above an Irish bar in New York’s
    Exhibit A - Page 4 of 15
                           Case 19-03138-dwh     Doc 1   Filed 12/31/19
ﬁnancial district, these salespeople phoned bodegas and pizzerias and pitched their
owners on loans. The rates sometimes exceeded 400 percent a year, and daily
payments were required, but borrowers were desperate.


A Confessions Boom
Judgments by confession in favor of merchant cash-advance companies in New York state




                                                   Loading...




Note: Totals by quarter
Source: Bloomberg News analysis of New York State Uniﬁed Court System documents


    In the aftermath of the ﬁnancial crisis, banks were cutting back on lending just
when small businesses most needed cash. Companies such as Yellowstone stepped
in. They got around lending regulations by calling what they did “merchant cash
advances,” not loans—a distinction judges recognize though there’s little practical
diﬀerence. The same people who’d pushed stock swindles in the 1990s and
subprime mortgages a decade later started talking small businesses into taking on
costly debt. The proﬁts were huge, and the industry grew. Last year it extended
about $15 billion in credit, according to an estimate by investment bank Bryant Park
Capital.

    Exhibit A - Page 5 of 15
                           Case 19-03138-dwh       Doc 1    Filed 12/31/19
     Yellowstone would hire anyone who could sell. A nightclub bouncer sat next to
ultra-Orthodox Jews fresh out of religious school. The best brokers earned tens of
thousands of dollars a month, former employees say; others slept at the oﬃce,
fought, sold loose cigarettes, and stole from each other. A video posted on YouTube
shows Glass ﬁring an employee. “Get the f--- out of my ﬁrm,” he yells. “Why are you
still sitting there, fat ass? Get out of my company!” To keep the troops focused,
management would stack a pile of cash on a table and hold a drawing for closers.
     Glass’s problem was that some borrowers took Yellowstone’s money with no
intention of paying it back. Lawsuits against deadbeats proved pointless, dragging
on for months or years. Then a lawyer who worked for Yellowstone and other cash-
advance outﬁts came up with the idea of requiring borrowers to sign confessions of
judgment before receiving their loans. That way, at the ﬁrst sign of trouble, lenders
could start seizing assets, catching borrowers unawares.


     In May 2012, Yellowstone became what appears to be the ﬁrst company in the
industry to ﬁle a confession in court. Others copied the trick. The innovation didn’t
just make collections easier; it upended the industry’s economics. Now, even if a
borrower defaulted, a company stood a chance of making a full recovery. By
tacking on extra fees, it might even make more money, and faster, than if the
borrower had never missed a payment. In some cases, the collections process
became a proﬁt engine.
     Confessions aren’t enforceable in Florida, where the Duncans signed theirs. But
New York’s courts are especially friendly to confessions and will accept them from
anywhere, so lenders require customers to sign documents allowing them to ﬁle
there. That’s turned the state into the industry’s collections department. Cash-
advance companies have secured more than 25,000 judgments in New York since
2012, mostly in the past two years, according to data on more than 350 lenders
compiled by Bloomberg Businessweek. Those judgments are worth an estimated $1.5
billion. The biggest ﬁler by far, with a quarter of the cases: Yellowstone Capital.




The Duncans’ ordeal began in November 2017 with an unsolicited fax from a broker
promising term loans of as much as $1 million at a cheap rate. The couple had
owned their agency, a Re/Max franchise, for three years and now had 50
employees, but they still weren’t turning a proﬁt. A planned entry into the
mortgage business was proving more expensive than expected. Doing some quick
math, Doug ﬁgured he could borrow $800,000 to fund the expansion, pay oﬀ some
   Exhibit A - Page 6 of 15
                        Case 19-03138-dwh   Doc 1   Filed 12/31/19
debt, and come out with a lower monthly payment. The spam fax felt like a gift
from God.
    On the phone, the broker said that to qualify for a big loan, Doug would ﬁrst
have to accept a smaller amount and make a few payments as a tryout. He sent over
the paperwork for a cash advance, not a term loan—and included confessions for
both Doug and Janelle to sign. Without talking to a lawyer, they did. Why not? Doug
thought. They intended to pay the money back on time.
    The advance turned out to be for $36,762, repaid in $800 daily debits from their
bank account starting the day after they got the money. This would continue for
about three months, until they’d repaid $59,960, amounting to an annualized
interest rate of more than 350 percent. A small price to pay, Doug ﬁgured—soon
he’d have all the money he needed in cheaper, longer-term debt. But when he
followed up the next month to inquire about the status of the bigger loan, he got no
response. The trouble started soon after.


How Confessions of Judgment Work




                                       Loading...




   Exhibit A - Page 7 of 15
                        Case 19-03138-dwh   Doc 1   Filed 12/31/19
    A few hours after learning that their bank accounts had been frozen, the
Duncans met with a local attorney, Jeﬀrey Dowd, in a law oﬃce squeezed between a
nail salon and a transmission shop. Their bank, SunTrust, refused to tell them who
was behind the freeze. It wasn’t clear why Yellowstone would target them. Their
contact there was still pleading ignorance; the lender had collected its $800
payment as recently as the previous business day. Janelle was on the verge of tears.
    A broad-shouldered man with a white goatee, Dowd handles everything from
wills to lawsuits for small-business owners in the Tampa suburbs. After assuring the
Duncans he’d get to the bottom of it, he logged on to his computer. He soon found a
legal website showing that Yellowstone had won a judgment against the Duncans a
few hours after Janelle received the warning phone call. The lender had gone to a
court in the village of Goshen, 60 miles north of New York City.
    “I hereby confess judgment,” read the documents Doug and Janelle had signed.
Attached was a statement signed by the same person at Yellowstone who’d assured
Doug everything was ﬁne. It said the Duncans had stopped making payments.

   Exhibit A - Page 8 of 15
                        Case 19-03138-dwh   Doc 1   Filed 12/31/19
    That wasn’t true. The Duncans’ bank records show that Yellowstone had
continued to get its daily $800 even after going to court. The company’s sworn
statement also inﬂated the size of the couple’s debt. But by the time Dowd found
the case, it was already over. A clerk had approved the judgment less than a day
after Yellowstone’s lawyer asked for it. No proof was demanded, no judge was
involved, and the Duncans didn’t have a chance to present their side in court.
    Beau Phillips, a Yellowstone spokesman, said in an email to Businessweek that
the company was within its rights, because the Duncans had blocked one payment
and never made up for it. The Duncans respond that if a block had taken place, it
must have been a computer error. Why stop paying and then resume the next day?
    The court papers revealed the name of Yellowstone’s lawyer, and on a whim,
Dowd searched for her other cases and found more than 1,500 results. The
Duncans’ predicament was no aberration. “It was like a rabbit hole,” Dowd says. He
dove in, clicking on case after case after case.


The Long Reach of a Rubber Stamp
In one month, a single clerk's oﬃce in Orange County, New York, issued 176 judgments against
small businesses in 38 states and Puerto Rico




                                           Loading...




   Exhibit A - Page 9 of 15
                         Case 19-03138-dwh     Doc 1    Filed 12/31/19
Note: Judgments issued based on merchant cash-advance ﬁlings in Orange County in July 2018
Source: Bloomberg News analysis of New York State Uniﬁed Court System documents




Goshen, N.Y., is a bucolic stop on the harness-racing circuit, just west of the Hudson
River. Not far from the track, in the Orange County Clerk’s oﬃce, women with ID
lanyards around their necks sit behind Plexiglas windows, processing pistol permits
and recording deeds. One clerk prints out proposed judgments sent electronically
by cash-advance companies and makes them oﬃcial with three rubber stamps.
     Orange is one of a handful of counties in upstate New York that together handle
an outsize share of the nation’s cash-advance collections. Industry lawyers pick
oﬃces known to sign judgments quickly; there’s no need for the borrower or lender
to have a connection to the area. In even smaller Ontario County, cash-advance
ﬁlings make up about three-quarters of the civil caseload. No matter how abusive
the confessions might be, clerks have no choice but to continue processing them,
says Kelly Eskew, a deputy clerk in Orange County.
     To obtain a judgment, a lawyer for a cash-advance company must send in the
confession along with a sworn aﬃdavit explaining the default and how much is still
owed. The clerk accepts the statement as fact and enters a judgment without
additional review. Once signed, this judgment is almost impossible to overturn.
Borrowers rarely try. Few lawyers will take on a client whose money is already
gone, and getting a ruling can take months—too long to save a desperate business.
It’s a trap with no escape.
     Clicking around a database of New York state court records, Dowd did ﬁnd
some cases in which cash-advance borrowers had sought to overturn judgments.
They’d almost always failed. New York judges took the view that debtors waived
their rights when they signed the papers. Dowd concluded it would probably cost
the Duncans $5,000 to retain a lawyer to travel to Orange County. He advised them
not to bother.
     It’s possible that if the Duncans had tried to overturn the judgment, they would
have discovered that the confessions they’d signed were later altered. The signed
originals contain an apparent drafting error, failing to identify the Duncans’
company as subject to the judgment, a ﬂaw that might have prevented Yellowstone
from seizing their money. In the version ﬁled in court, someone had replaced the
ﬁrst two pages of each confession with the mistake corrected. Asked by
Businessweek about the discrepancy, Phillips didn’t provide an explanation.


Altered Documents
    Exhibit A - Page 10 of 15
                           Case 19-03138-dwh         Doc 1    Filed 12/31/19
    Borrowers have accused Yellowstone of forgery before. Just in the past year, a
Georgia contractor presented evidence in court that a confession used against him
was a complete fabrication, and a Maryland trucker complained to Yellowstone that
a key term in his confession had been changed after the fact, as had happened with
the Duncans. The company backed oﬀ from those borrowers but faced no further
consequences. Phillips declined to comment on the accusations.
    While Dowd didn’t challenge the ruling against the Duncans in court, he did
think he could get SunTrust to help them. He told the bank that one of the couple’s
accounts held funds that didn’t belong to them because it was used to collect rent
on behalf of landlords. Dowd says a banker at the local branch wanted to help but
was overruled by higher-ups. The account remained frozen. A spokesman for
SunTrust declined to comment.
    When Dowd ﬁnally reached Yellowstone’s lawyer, she referred him to a marshal
who she said was handling the case. Dowd was confused. Why would a U.S.
marshal be involved? His clients weren’t fugitives. He called the phone number, and
somebody with a Russian accent answered.




The person on the phone wasn’t a federal oﬃcial. Dowd had reached the Brooklyn
oﬃce of Vadim Barbarovich, who holds the title of New York City marshal. He’d
stumbled onto an arcane feature of the city’s government that’s become another
powerful tool for cash-advance companies.
    New York’s 35 marshals are government oﬃcers, appointed by the mayor, who
collect private debts. They evict tenants and tow cars, city badges dangling from
their necks. When they recover money, they get a fee of 5 percent. The oﬃce dates
to Dutch colonial days, formed by a decree of Peter Stuyvesant’s council. Fees for

   Exhibit A - Page 11 of 15
                        Case 19-03138-dwh   Doc 1   Filed 12/31/19
the biggest jobs were initially set at a dozen stivers, less than one-tenth the price of
a beaver pelt.
    Barbarovich’s oﬃce is in the immigrant enclave of Sheepshead Bay. Before he
was appointed in 2013, he’d tracked inventory at a Brooklyn hospital and
volunteered as a Russian translator. He’s now the go-to marshal for the cash-
advance business and has gotten rich in the process. Last year, city records show,
he cleared $1.7 million after expenses.
    As soon as Yellowstone had obtained its judgment against the Duncans, it had
sent a copy to Barbarovich, who issued legal orders demanding money from
Atlanta-based SunTrust and another bank in Alabama where the couple kept their
personal funds. By law, New York marshals’ authority is limited to the city’s ﬁve
boroughs, but a loophole vastly extends their reach: They’re allowed to demand
out-of-state funds as long as the bank has an oﬃce in the city, as SunTrust does. A
few big banks refuse to comply with the orders, but most just hand over their
customers’ money.


    SunTrust proved accommodating. Three days after freezing the Duncans’
accounts, it took $52,886.93 and mailed a check to Barbarovich, enough to satisfy
the judgment plus the 5 percent marshal’s fee. Almost all of it was rent money the
Duncans were holding for landlords, not their own funds. Barbarovich didn’t
respond to questions about the couple’s case but said in an email that he follows
the rules when issuing a demand for money. Phillips, the Yellowstone spokesman,
said no one told the company that the money belonged to third parties until seven
weeks after it was seized. Even then, Yellowstone refused to return it.
    The Duncans scrambled to make up the shortfall. Doug got another, larger cash
advance from a diﬀerent company to keep aﬂoat. The daily payments on that loan
were too much for them to handle, though, and they were soon short of cash again.
Sensing trouble, employees ﬂed.
    One evening, Janelle thought she was having a heart attack. Her pulse raced,
her limbs went numb, and she grew nauseous. An ambulance rushed her to the
hospital. Her heart was ﬁne. Her insurance claim was denied.




Unlike the Duncans, most of the dozens of borrowers interviewed by Businessweek
really did fall behind on their debt payments. Their experiences were no less
wrenching. They spoke of divorce, of lost friendships, of unpaid medical bills.
    “You can’t defend yourself,” says Richard Schilg, the owner of a human
resources  company in Ohio who borrowed hundreds of thousands of dollars with at
   Exhibit A - Page 12 of 15
                       Case 19-03138-dwh    Doc 1   Filed 12/31/19
least six advances. “As long as you still have a business, as long you have a personal
checking account, they’re going to hound you. Your life is ruined by their contract.”
Schilg says he always tried to honor his debts. But his access to money has been so
restricted by cash-advance judgments that he’s had to sell furniture to buy food.
    He’s one of many borrowers who’ve received nasty threats from debt collectors.
“I will make this my personal business to f--- you,” a Yellowstone executive named
Steve Davis told Schilg on a voicemail heard by Businessweek. Davis texted another:
“I will watch you crash and burn.” Asked about the messages, Davis says, “People
defraud us. When that happens we have to do what’s best for us.”
    Jerry Bush, who ran a plumbing business with his father in Roanoke, Va., signed
confessions for at least six cash advances from companies including Yellowstone,
taking one loan after another as his payments mounted to $18,000 a day. In
January, Davis called him while he was accompanying his wife to a chemotherapy
appointment and threatened him with the confession in a dispute over payment
terms. Davis denies menacing Bush, but according to Bush’s account of their
conversation, Davis said he would pursue Bush until his death and take all of his
money, leaving nothing to pay for his wife’s treatment. Bush also says Davis then
oﬀered to send ﬂowers to Bush’s wife.
                                                   In August, Bush closed his
                                               business, laid oﬀ his 20 employees,
                                               and stopped making payments on his
                                               loans. Yellowstone never ﬁled its
                                               signed confession in court, but other
                                               lenders went after him over theirs. One
                                               sunny day that month, he walked to a
                                               wooded area near his home,
                                               swallowed a bottle of an oxycodone
                                               painkiller, and began streaming video
                                               to Facebook. To anyone who might
                                               have been watching, he explained that
                                               he’d taken out cash advances in a failed
                                               attempt to save his business. Now the
                                               lenders had seized his accounts, Bush
                Jerry Bush                     said, his voice wavering. One had even
  “I wake up every morning grabbed his father’s retirement money.
                                                   “I signed ’em, I take the blame for
   afraid what else they will it,” he said. “This will be my last video.
  take. And every morning I I am taking this on me.” He asked his
          throw up blood”                      friends to take care of his family, then

   Exhibit A - Page 13 of 15
                        Case 19-03138-dwh   Doc 1   Filed 12/31/19
sobbed as he told his wife and teenage son he loved them.
    Someone who saw the video alerted the police. They found Bush unconscious
in the woods a few hours later—he credits them with saving his life. But the pressure
from his confessions of judgment hasn’t relented. “I wake up every morning afraid
what else they will take,” he says. “And every morning I throw up blood.”
    Bush’s contracts with Yellowstone show that the company advanced him a total
of about $250,000 and that he paid them back more than $600,000. Davis, who
parted ways with Yellowstone in August, says he didn’t mistreat Bush or other
borrowers and always followed the company’s protocols. “You know why people
put the blame on me is because I’m successful,” he says. “It’s just haters.”
    As for the Duncans, each morning at their house still begins with a prayer and a
Bible verse. Their retirement savings evaporated with their agency, but they’ve
been able to keep their house. They continue to believe God has a plan for every
one of his children, but they’ve learned to trust some of those children less. “If we
don’t have peace from God, and we live in outrage, it destroys us,” Janelle says. “So
I’m choosing to have hope to start again, and we’re relying on the Lord to replace
what the enemy has stolen and turn it around for good.”


    By seizing their bank deposits, Yellowstone had managed to collect its money
ahead of schedule and tack on $9,990 in extra legal fees, payable to a law ﬁrm in
which it owns a stake. In about three months, the company and its aﬃliates almost
doubled their money. At that rate of return, one dollar could be turned into 10 in
less than a year.
    Everyone else involved in the collection process got a slice, too. SunTrust got a
$100 processing fee. Barbarovich’s oﬃce got approximately $2,700, with about $120
of that passed along to the city. The Orange County Clerk’s oﬃce got $41 for its
rubber stamps. The New York state court system got $184.
    To date, no state or federal regulator has tried to police the merchant-cash-
advance industry. Its lawyers designed it to avoid scrutiny, sidestepping usury laws
and state licensing requirements by keeping the word “loan” out of paperwork and
describing the deals as cash advances against future revenue. And because the
customers are technically businesses, not individuals, consumer protection laws
don’t apply, either.
    With regulators sidelined and lawmakers oblivious, Yellowstone and its peers
keep growing. After Glass stepped back a couple of years ago from day-to-day
operations—his criminal record was making it harder to ﬁnd investors—Wall Street
investment bankers arranged a $120 million line of credit to ﬁnance more advances.
In 2016 the company moved from its grimy downtown Manhattan oﬃces to a shiny
building in Jersey City, pocketing $3 million in state tax incentives. On Instagram, a
   Exhibit A - Page 14 of 15
                        Case 19-03138-dwh   Doc 1   Filed 12/31/19
top salesman shows oﬀ ﬂights on private jets, a diamond-encrusted watch, and a
Lamborghini. Yellowstone advanced $553 million last year, its highest total ever.
    In April, on the same day Janelle
Duncan was selling the last of her
oﬃce furniture, Yellowstone executives
marked the company’s ninth
anniversary with a luncheon in Jersey
City. In a celebratory email marking
the occasion, Stern, the co-founder,
wrote, “I am continually blown away at
the success and achievements we
continue to have.”




This is the ﬁrst in a series of    ▲ A stack of cash about to be raffled off to a lucky Yellowstone
articles about the merchant        employee. SOURCE: FACEBOOK

cash-advance industry. Read
more about how local, state and federal oﬃcials are trying to crack
down on it as a result of the Bloomberg News investigation.

Sources: Bloomberg News analysis of New York State Uniﬁed Court System documents; U.S. Census Bureau
Design and development: Demetrios Pogkas and Christopher Cannon. With assistance from Dean Halford.
Photographs by Tristan Wheelock for Bloomberg Businessweek.
Edited by Robert Friedman and Jeremy Keehn.
Notes: To compile data on the use of confessions of judgment, Bloomberg assembled a list of more than 500
cash-advance company names from sources including industry publications and lawyer client lists. Each name
was then searched on the New York State Uniﬁed Court System’s electronic ﬁling database to identify more than
30,000 civil court cases associated with these companies since 2012. Details of each case were analyzed to
identify those in which the plaintiﬀ ﬁled a confession of judgment and the court entered a judgment in the
plaintiﬀ’s favor. The dollar value of about one-third of the judgments was available in the state court database.
Bloomberg estimated the value of the remainder based on those values and a random sample of more than 1,200
cases where the amount in court ﬁlings hadn’t been entered in the electronic database.




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     Exhibit A - Page 15 of 15
                             Case 19-03138-dwh          Doc 1     Filed 12/31/19
          Fall Behind on
          These Loans?
         You Might Get a
         Visit From Gino
▲ Gino Gioe enters the Los Angeles oﬃce of Radiant Images on Feb. 15, 2018, captured by a surveillance camera. SOURCE:
COMPLAINT FILED IN U.S. DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK.




         The unregulated cash-advance industry is reviv
                 collection tactics of a bygone era.


                                    By Zachary R. Mider and Zeke Faux
                                           December 20, 2018




     One afternoon in February, a tanned man in a dark suit strolled into a Los Angeles
     oﬃce without an appointment. He was about 5-foot-7, with a bodybuilder’s
     physique and huge, gnarled hands. He identiﬁed himself as “Joe’s cousin” and
     asked for the owner.
        An employee at the front desk, his face turning pale, took the man to meet the
     boss, Michael Mansouri. The visitor demanded to know why Mansouri, whose
     company rents high-tech cameras to Hollywood ﬁlmmakers, had stopped making
     payments on a loan. Then, according to a court complaint Mansouri’s company
     ﬁled, he mentioned another delinquent borrower who’d been mangled in a car
         Exhibit B - Page 1 of 8
                                    Case 19-03138-dwh           Doc 1     Filed 12/31/19
crash and remarked: “These are the kind of things which strongly aﬀect wives and
children.”
     Mansouri says he was so shaken that he called the police. He also bought a gun
and learned how to use it. “That, to me, is a threat,” he says.
                                              For the visitor, a convicted felon named
                                          Renato “Gino” Gioe, it was just business. For six
                                          years, he traveled the country collecting debts for
                                          a Philadelphia company called Par Funding, also
                                          known as Complete Business Solutions Group Inc.
                                          The company says on its website that it has
                                          advanced $600 million to more than 2,500
                                          businesses. The eﬀective annualized interest rates
                                          on its advances can top 250 percent.
                                              Par is one of a growing number of merchant
                                          cash-advance companies that oﬀer fast money to
                                          small-business owners like truckers or
                                          restaurateurs at high rates. They get around
                                          lending regulations by saying they’re not making
                                          loans—they’re buying the money businesses will
                                          make in the future at a discount. Judges have
                                          upheld this loophole.
                                              The new industry is in some ways a
                                          reincarnation of the loan-sharking rackets of a
                                          bygone era. Cash-advance companies use a legal
 ▲ Gino Gioe in 2012. SOURCE: COURTESY OF
 NEW YORK DAILY NEWS.
                                          document called a confession of judgment to stack
                                          the deck against borrowers, just as payday lenders
did a century ago. Small-business lending was once inﬁltrated by the mob. Today
it’s again a magnet for crooks, including some with alleged ties to organized crime.
Gioe’s travels around the U.S. show how the regulatory vacuum is enabling
intimidation tactics that seem like relics of a lawless past.
     Ten of Gioe’s unannounced visits to borrowers, from Chicago to small-town
Alabama, were described in court papers and interviews with Bloomberg News. He
made “threats of violence and physical harm” to employees of a California rehab
center, according to one court complaint. A tire-shop owner near Boston said in
another court ﬁling he “felt that physical harm would come to me and my family”
when Gioe walked into his shop in 2016 demanding immediate payment.
     A third borrower, recounting Gioe’s visit to his Maryland trucking company last
year, described him in an aﬃdavit as resembling “an aging but still formidable
character ripped from the World Wrestling Federation” who had been sent not to
negotiate but to “intimidate me into making a lump-sum payment.”
   Exhibit B - Page 2 of 8
                        Case 19-03138-dwh     Doc 1   Filed 12/31/19
    Gioe was friendlier last month in an interview at the Wall Street oﬃce of
another cash-advance ﬁrm where he now works. Over the six years he worked for
Par as an independent contractor, he said, he made more than 700 surprise visits
to deadbeat business owners. But don’t get the wrong idea, he said. He never tried
to intimidate anyone. He considers Mansouri a friend. His goal was always to work
out a reasonable deal. “I don’t curse,” Gioe said. “I don’t tell them I’m going to f---
‘em up, I’m going to beat the living s--- out of you. It doesn’t make any sense.”
    Wearing a skintight sweater that accentuated his biceps, Gioe held forth for an
hour, his mood veering from aﬀable to bored to indignant. He spun an elaborate
metaphor about an ambitious stripper and showed oﬀ a chest scar from a near-fatal
motorcycle wreck.
    He didn’t deny his criminal past, which includes convictions for assaulting a
woman, smashing a car with a baseball bat and violating a protective order. But he
said he’s a diﬀerent man since leaving prison in 2011, settling down and focusing on
his family.
    “I found myself,” he said. “Like, universally, organic and the whole bohemian s--
- with the Tony Robbins thing. You know what I mean?”




The boss at Par goes by the name of Joe Mack, though his real name is Joseph
LaForte and he’s not Gioe’s cousin. LaForte founded Par with his wife in 2011, after
serving more than two years in prison for stealing $14 million in a real estate scam
and running an illegal gambling operation. LaForte says he uses the alias to conceal
his criminal record, which he says has dogged him even though the charges are a
decade old and his loan company follows the rules.
    “It’s unfair that this stuﬀ stays around forever,” LaForte says. “Google my name.
Look what comes up: mugshots.”
    LaForte has a point: The most unpleasant Google results are actually about his
grandfather and uncle, both also named Joseph LaForte.
    His grandfather, nicknamed “Joe the Cat,” and his uncle, “Buddy,” were made
men in the Gambino crime family under boss John Gotti, according to George
Gabriel, the lead FBI agent on the Gotti investigation. Both were loan sharks,
Gabriel says.
    LaForte has never been accused by prosecutors of having mob ties. Asked about
the maﬁa, he says: “I don’t believe there’s any such thing.”




   Exhibit B - Page 3 of 8
                        Case 19-03138-dwh   Doc 1   Filed 12/31/19
    Gioe, 51, is vague about how he connected with LaForte. “Everybody knows
everybody, right?” He had an unconventional resume for a ﬁnance job. A native of
Queens, New York, he spent most of the 1990s in prison after convictions for felony
assault, criminal mischief, drug dealing and stealing a Jeep.
    Released in 2000, Gioe turned his past into an asset: He marketed himself as a
high-end personal trainer with a “jailhouse workout” honed in the joint. Men’s
Fitness magazine featured him as “The World’s Toughest Man” in a recurring advice
column. After more drug arrests and another four-year prison stretch, he mugged
for a New York Daily News proﬁle promoting his training methods.
    A planned workout book never materialized, and instead Gioe joined the cash-
advance business. In-person debt collection is rare in the industry, even though
borrowers often fail to repay their loans. Many companies legally seize assets from
delinquent borrowers by using confessions of judgment—documents in which
debtors agree in advance to lose any dispute over the transactions—to short-circuit
the court process.


A Confessions Boom
Judgments by confession in favor of merchant cash-advance companies in New York state

                                                                                        Ca
                                                                                         3




       14 cases
      before 2014


   Exhibit B - Page 4 of 8
                        Case 19-03138-dwh     Doc 1   Filed 12/31/19
  2013             2014              2015             2016             2017       2018

Note: Totals by quarter
Source: Bloomberg News analysis of New York State Uniﬁed Court System documents


    Par uses confessions too, but LaForte says he sent Gioe to help customers work
out payment plans as an alternative to going to court. A lawyer for Par, Justin White,
later said in a letter to Bloomberg News that neither LaForte nor anyone else at Par
supervised Gioe’s work.
    “He sits down like a gentleman,” LaForte says. “He would never ever do
anything wrong to anybody.”
    Gioe said he has saved many businesses from bankruptcy. People who claim to
be intimidated might be prejudiced against Italians, he said. While his newspaper
and magazine proﬁles mentioned mob ties, he said that’s not accurate.
    “Ninety-nine point nine percent of the merchants are receptive to the one-on-
one,” Gioe said. “When I ﬁnally talk to them, they realize there is a solution.”
    Gioe’s visits followed a pattern. He would show up unannounced, demand to
speak to the owner and say he wasn’t leaving until he got paid, according to the
people who described the visits in court records and interviews. All of the people
say Gioe seemed to be trying to intimidate them. Four say they called the police,
though no charges were ﬁled.
    Mansouri, the co-founder of the movie-camera company, says Gioe chose his
words carefully to scare without making explicit threats of violence. His business,
Radiant Images, brought the lawsuit describing Gioe’s visit as part of a dispute with
Par over $2 million in debt. The case was later settled.




    Gioe could be persistent. When he showed up at a beauty-supply warehouse in
Chicago last year, its new owner, George Souri, told him a bankruptcy judge had
ordered creditors to back oﬀ. “We don’t deal with courts, we have our own ways to
collect,” Gioe responded, according to an aﬃdavit Souri ﬁled in the bankruptcy
case. When Souri forbade him from speaking to the warehouse’s former proprietor,
Gioe remarked, “We’ll go to her house and deal with her there,” the aﬃdavit states.

    Exhibit B - Page 5 of 8
                           Case 19-03138-dwh       Doc 1     Filed 12/31/19
    Gioe said the former owner had borrowed $1 million from Par with no intention
of paying it back, and that he was the one who felt physically threatened by Souri, a
younger man with martial-arts training. Reminded that Souri was the one who
called the police on him, he said, “Yeah, can you believe it?”
    Tonmoy Sharma, who runs the California rehab center, said in his court
complaint that he received threatening texts from someone else connected to Par:
LaForte’s brother James.
    James warned Sharma he was on his way to Sharma’s house, according to the
complaint. “You guys didn’t think I was going away did you?” he texted.




▲ Texts sent by James LaForte to Tonmoy Sharma and two of his employees at a California rehab center.   SOURCE:
COMPLAINT FILED IN NEW YORK COUNTY SUPREME COURT.




    Exhibit B - Page 6 of 8
                               Case 19-03138-dwh            Doc 1      Filed 12/31/19
Federal prosecutors in New York described James LaForte in a 2012 court memo
as an associate of the Gambino crime family. He has served time for loan sharking
and having someone’s car torched, and he was convicted for the same real estate
scam that landed his brother in jail. White, the lawyer for Par, said that James
LaForte denies having any ties to organized crime. James LaForte didn’t respond to
questions about the text messages.
    Joseph LaForte says his brother is an outside broker for Par who sometimes
helps him collect debts but isn’t an employee. He says Par had a right to pursue
Sharma for reneging on millions of dollars of debt.
    James isn’t the only alleged mobster to turn to
the cash-advance business. One of his co-
defendants in a 2012 racketeering case, identiﬁed
by the FBI as a member of the Bonanno crime
family, now brokers loans on Staten Island. And
another man the FBI once called a Gambino
associate works for a similar ﬁrm in lower
Manhattan.
    Joseph LaForte says that even though Gioe was
helping borrowers, a few did complain about
getting a visit. To avoid any more trouble, he says
he replaced Gioe earlier this year with two women ▲ Joseph (left) and James LaForte.
who call ahead and make appointments. He also
told Bloomberg News that a story about Gioe would be inappropriate since he
recently died.
    For his part, Gioe says he’s not dead and that he parted ways with Par because
“the money wasn’t right” and he was getting sick of the travel. He now works as a
salesman for another cash-advance company and says he still does ﬁtness coaching
for a few wealthy professional women. “There’s no limits,” he says he tells them.
“You never say ‘I can’t.’”
—With assistance from Bob Van Voris




This is the ﬁfth in a series of articles about the merchant cash-
advance industry. Read more about how local, state and federal
oﬃcials are trying to crack down on it as a result of the Bloomberg
News investigation.

Data analysis: David Ingold and Demetrios Pogkas. Design and development: Demetrios Pogkas.
    Exhibit B - Page 7 of 8
                            Case 19-03138-dwh        Doc 1     Filed 12/31/19
     Edited by Robert Friedman and John Voskuhl.
     Notes: To compile data on the use of confessions of judgment, Bloomberg assembled a list of more than 500
     cash-advance company names from sources including industry publications and lawyer client lists. Each name
     was then searched on the New York State Uniﬁed Court System’s electronic ﬁling database to identify more than
     30,000 civil court cases associated with these companies since 2012. Details of each case were analyzed to
     identify those in which the plaintiﬀ ﬁled a confession of judgment and the court entered a judgment in the
     plaintiﬀ’s favor.




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What Parties Are Promising in                  Ivey Tops Canada B School                       How California Be
the U.K. General Election                      Ranking, Smith Holds On to                      America’s Housin
                                               Second Spot                                     Nightmare
Nov. 27, 2019                                  Dec. 9, 2019                                    Nov. 6, 2019




                                               Trump Investigation Guide:
                                               Impeachment, Inquiries,
                                               Lawsuits




New York’s Top Art Auctions                                                                    These Are the Bre
Expected to Tumble 24%                                                                         Battlegrounds Th
                                                                                               the U.K. Election
Nov. 8, 2019                                   Nov. 22, 2019                                   Nov. 14, 2019




          Exhibit B - Page 8 of 8
                                 Case 19-03138-dwh             Doc 1   Filed 12/31/19
      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtor-in-Possession




                              IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                           Bankruptcy Case Nos.:

       PPV, Inc.                                       19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.                    19-34518-dwh11

                                                       Jointly Administered Under
                                                       Case No. 19-34517-dwh11

             Debtors-in-Possession.
       PPV, Inc.,                                      Adv. Pro. No. __________

                Plaintiff,                             PLAINTIFF’S MOTION FOR
                                                       EXPEDITED HEARING RE (1) PLAINTIFF'S
                vs.                                    MOTION FOR TEMPORARY RESTRAINING
                                                       ORDER; AND (2) PLAINTIFF'S MOTION
       Libertas Funding LLC, a Connecticut             FOR ORDER TO SHOW CAUSE
       limited liability company, EBF Partners,
       LLC dba Everest Business Funding, a
       Delaware limited liability company, and
       Retail Capital LLC dba Credibly, a New
       York limited liability company,

                Defendants.




Page 1 of 3    PLAINTIFF’S MOTION FOR EXPEDITED HEARING RE (1) PLAINTIFF'S          VANDEN BOS & CHAPMAN, LLP
                                                                                               Attorneys at Law
               MOTION FOR TEMPORARY RESTRAINING ORDER; AND (2) PLAINTIFF'S            319 SW Washington Street, Suite 520
               MOTION FOR ORDER TO SHOW CAUSE                                            Portland, Oregon 97204-2690
                                                                                                (503) 241-4869



                              Case 19-03138-dwh    Doc 1      Filed 12/31/19
                                                   MOTION

              Pursuant to FRBP 4001(b)(2), 4001(c)(2), and 9014, Plaintiff PPV, Inc. (the “Plaintiff”)

      hereby moves this Court for expedited hearing. The motions upon which Plaintiff requests

      expedited hearing are as follows:

              1.     Plaintiff’s Motion for Temporary Restraining Order; and

              2.     Plaintiff’s Motion for Order to Show Cause (collectively “Expedited Motions”).

              In support of this request, Plaintiff states as follows:

              1.     Plaintiff is the Debtor in the main bankruptcy case no. 19-34517-dwh11 and

      filed its Voluntary Petition under Chapter 11 of the United States Bankruptcy Code on

      December 10, 2019.

              2.     Plaintiff remains in possession of its assets and continues to operate its

      business as Debtor-in-Possession.

              3.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

      1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

              4.     Plaintiff is in immediate and urgent need to obtain Court approval of the

      Expedited Motions in order to continue to conduct business in the ordinary course, to

      propose a plan of reorganization, to ensure the availability of assets of James Thuney and

      Joseph Thuney (collectively the “Affiliates”) for contribution to a plan of reorganization and to

      ensure the continued participation and involvement in the organization of integral

      management and staff.

              5.     Plaintiff will suffer immediate and irreparable harm if the court does not enter

      an Order enjoining the Defendants from initiating or continuing litigation or collection actions

      against the Affiliates.


Page 2 of 3   PLAINTIFF’S MOTION FOR EXPEDITED HEARING RE (1) PLAINTIFF'S          VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
              MOTION FOR TEMPORARY RESTRAINING ORDER; AND (2) PLAINTIFF'S            319 SW Washington Street, Suite 520
              MOTION FOR ORDER TO SHOW CAUSE                                            Portland, Oregon 97204-2690
                                                                                               (503) 241-4869



                                Case 19-03138-dwh     Doc 1    Filed 12/31/19
              6.    Plaintiff requests that hearing be set as soon as reasonably possible.

              7.    This motion is supported by Plaintiff’s Complaint filed in this Adversary

      Proceeding, the Declaration of James Thuney, the Declaration of Joseph Thuney, the

      Declaration of Douglas R. Ricks, the Memorandum in Support of Temporary Restraining

      Order and Motion for Order to Show Cause, and the Court’s records and files in this

      Adversary Proceeding and in the Main Case.

       Dated: December 30, 2019                VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                  Douglas R. Ricks, OSB #044026
                                                  Of Attorneys for Debtors-in-Possession




Page 3 of 3   PLAINTIFF’S MOTION FOR EXPEDITED HEARING RE (1) PLAINTIFF'S         VANDEN BOS & CHAPMAN, LLP
                                                                                             Attorneys at Law
              MOTION FOR TEMPORARY RESTRAINING ORDER; AND (2) PLAINTIFF'S           319 SW Washington Street, Suite 520
              MOTION FOR ORDER TO SHOW CAUSE                                           Portland, Oregon 97204-2690
                                                                                              (503) 241-4869



                            Case 19-03138-dwh      Doc 1    Filed 12/31/19
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               Of Attorneys for Debtors-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                        Bankruptcy Case Nos.:

       PPV, Inc.                                    19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.                 19-34518-dwh11

                                                    Jointly Administered Under
                                                    Case No. 19-34517-dwh11

             Debtors-in-Possession.
       PPV, Inc.,                                   Adv. Pro. No. __________

               Plaintiff,                           PLAINTIFF'S MOTION FOR
                                                    ORDER TO SHOW CAUSE
               vs.
                                                    EXPEDITED HEARING REQUESTED
       Libertas Funding LLC, a Connecticut
       limited liability company, EBF Partners,
       LLC dba Everest Business Funding, a
       Delaware limited liability company, and
       Retail Capital LLC dba Credibly, a New
       York limited liability company,

               Defendants.




Page 1 of 2     PLAINTIFF'S MOTION FOR ORDER TO SHOW CAUSE                       VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
                EXPEDITED HEARING REQUESTED                                        319 SW Washington Street, Suite 520
                                                                                      Portland, Oregon 97204-2690
                                                                                             (503) 241-4869



                             Case 19-03138-dwh     Doc 1   Filed 12/31/19
              Plaintiff, pursuant to 11 U.S.C. § 105(a), FRBP 7065, and FRCP 65, moves this

      Court for an order requiring Defendants to appear and show cause, if any, why a preliminary

      injunction should not be issued:

              1.    Enjoining and prohibiting Libertas Funding LLC, EBF Partners LLC dba

      Everest Business Funding, and Retail Capital LLC dba Credibly (collectively referred to as

      the “Defendants”) from engaging in litigation or collection efforts against Joseph Thuney and

      James Thuney (collectively referred to as the "Affiliates") without an order of this Court,

      pending confirmation of a plan;

              2.    Staying Libertas from filing an affidavit of confession of judgment with the

      Clerk of the Court as contemplated in the Libertas Agreement as defined in the Motion.

              The requested preliminary injunction will remain in effect pending confirmation of the

      reorganization plan in this case, dismissal of the case, or conversion of the case to case

      under Chapter 7 of the Bankruptcy Code. This motion is support by Plaintiff’s Complaint

      filed in this Adversary Proceeding, the Declaration of James Thuney, the Declaration of

      Joseph Thuney, the Declaration of Douglas R. Ricks, the Memorandum in Support of Motion

      for Temporary Restraining Order and Motion for Order to Show Cause, and the Court’s

      records and files in this Adversary Proceeding and in the Main Case.

       Dated: December 30, 2019                VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                  Douglas R. Ricks, OSB #044026
                                                  Of Attorneys for Debtors-in-Possession




Page 2 of 2    PLAINTIFF'S MOTION FOR ORDER TO SHOW CAUSE                          VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
               EXPEDITED HEARING REQUESTED                                           319 SW Washington Street, Suite 520
                                                                                        Portland, Oregon 97204-2690
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                            Case 19-03138-dwh       Doc 1    Filed 12/31/19
      Douglas R. Ricks, OSB #044026
      VANDEN BOS & CHAPMAN, LLP
      319 SW Washington St., Ste. 520
      Portland, OR 97204
      Telephone: 503-241-4869
      Fax: 503-241-3731

               Of Attorneys for Debtors-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                        Bankruptcy Case Nos.:

       PPV, Inc.                                    19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.                 19-34518-dwh11

                                                    Jointly Administered Under
                                                    Case No. 19-34517-dwh11

             Debtors-in-Possession.
       PPV, Inc.,                                   Adv. Pro. No. __________

               Plaintiff,                           PLAINTIFF'S MOTION FOR
                                                    TEMPORARY RESTRAINING ORDER
               vs.
                                                    EXPEDITED HEARING REQUESTED
       Libertas Funding LLC, a Connecticut
       limited liability company, EBF Partners,
       LLC dba Everest Business Funding, a
       Delaware limited liability company, and
       Retail Capital LLC dba Credibly, a New
       York limited liability company,

               Defendants.

               Pursuant to 11 U.S.C. § 105(a), and FRBP 7001(7) and 7065, PPV, Inc. (the

      “Debtor”) moves this Court for a temporary restraining order:
Page 1 of 2     PLAINTIFF'S MOTION FOR TEMPORARY RESTRAINING ORDER               VANDEN BOS & CHAPMAN, LLP
                                                                                            Attorneys at Law
                EXPEDITED HEARING REQUESTED                                        319 SW Washington Street, Suite 520
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                             Case 19-03138-dwh     Doc 1   Filed 12/31/19
              1.    Enjoining and prohibiting Libertas Funding LLC, EBF Partners LLC dba

      Everest Business Funding, and Retail Capital LLC dba Credibly (collectively referred to as

      the “Defendants”) from engaging in litigation or collection efforts against Joseph Thuney and

      James Thuney (collectively referred to as the "Affiliates") without an order of this Court,

      pending confirmation of a plan;

              2.    Staying Libertas from filing an affidavit of confession of judgment with the

      Clerk of the Court as contemplated in the Libertas Agreement as defined in the Motion.

              The requested preliminary injunction will remain in effect pending confirmation of the

      reorganization plan in this case, dismissal of the case, or conversion of the case to a case

      under Chapter 7 of the Bankruptcy Code. This motion is supported by Plaintiff’s Complaint

      filed in this Adversary Proceeding, the Declaration of Joseph Thuney, the Declaration of

      James Thuney, the Declaration of Douglas R. Ricks, the Memorandum in Support of Motion

      for Temporary Restraining Order and Motion for Order to Show Cause, and the Court’s

      records and files in this Adversary Proceeding and in the Main Case.

       Dated: December 30, 2019                VANDEN BOS & CHAPMAN, LLP



                                               By:/s/Douglas R. Ricks
                                                  Douglas R. Ricks, OSB #044026
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Page 2 of 2    PLAINTIFF'S MOTION FOR TEMPORARY RESTRAINING ORDER                  VANDEN BOS & CHAPMAN, LLP
                                                                                              Attorneys at Law
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                            Case 19-03138-dwh       Doc 1    Filed 12/31/19
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               Of Attorneys for Debtors-in-Possession




                             IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

       In re                                        Bankruptcy Case Nos.:

       PPV, Inc.                                    19-34517-dwh11 (Lead Case)
       and
       Bravo Environmental NW, Inc.                 19-34518-dwh11

                                                    Jointly Administered Under
                                                    Case No. 19-34517-dwh11

             Debtors-in-Possession.
       PPV, Inc.,                                   Adv. Pro. No. __________

               Plaintiff,                           MEMORANDUM IN SUPPORT OF MOTION
                                                    FOR TEMPORARY RESTRAINING ORDER
               vs.                                  AND MOTION FOR ORDER TO SHOW
                                                    CAUSE
       Libertas Funding LLC, a Connecticut
       limited liability company, EBF Partners,
       LLC dba Everest Business Funding, a
       Delaware limited liability company, and
       Retail Capital LLC dba Credibly, a New
       York limited liability company,

               Defendants.




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                                                                                            Attorneys at Law
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                                       1.     BACKGROUND FACTS

               Pursuant to 11 U.S.C. § 105(a) and FRBP 7001(7) and 7065, PPV Inc. (the “Debtor”)

      seeks a Temporary Restraining Order and Order to Show Cause against Defendants.

               Debtor operates a waste-water disposal operation headquartered in Multnomah

      County, OR. Debtor’s waste-water disposal services and other products are provided to the

      public. Declaration of James Thuney (hereinafter "James Thuney Decl."), ¶ 3.

               James Thuney and Joseph Thuney (collectively the “Affiliates”) have agreed to

      contribute assets to Debtor’s bankruptcy case. James Thuney Decl., ¶ 9; Declaration of

      Joseph Thuney (hereinafter “Joseph Thuney Decl.”), ¶ 9. The Affiliates' contribution of these

      assets is critical to the Debtor having sufficient assets to potentially pay all creditors' claims

      in full. James Thuney Decl., ¶¶ 11-13; Joseph Thuney Decl. ¶¶ 11-13.

               On February 21, 2019, the Affiliates executed a Receivables Purchase Agreement

      (the “Credibly Agreement”) with Retail Capital LLC dba Credibly as individuals guaranteeing

      PPV’s performance under the Credibly Agreement. James Thuney Decl. ¶ 6; Joseph

      Thuney Decl. ¶ 6. On March 4, 2019 and August 5, 2019, the Affiliates executed a Payment

      Rights Purchase and Sale Agreements with EBF as individuals guaranteeing PPV’s

      performance under the EBF Agreements. James Thuney Decl. ¶ 7; Joseph Thuney Decl.

      ¶ 7. On September 23, 2019, the Affiliates executed an Agreement of Sale of Future

      Receipts (the “Libertas Agreement”) with Libtertas Funding LLC as individuals guaranteeing

      PPV’s performance under the Libertas Agreement. James Thuney Decl. ¶ 8; Joseph

      Thuney Decl. ¶ 8.

               In order to protect the estate's ability to realize on assets proposed to be contributed

      to the bankruptcy estate by the Affiliates, it is imperative that an injunction be granted to



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      enjoin the Defendants from initiating any litigation or collection actions against the Affiliates.

      If the Affiliates are be forced to respond to any litigation or collection actions brought against

      them by the Defendants, they will be distracted from the operation of the Debtor’s business

      and participation in the reorganization process to the detriment of the estate and all of the

      creditors. James Thuney Decl., ¶¶ 10-15; Joseph Thuney Decl., ¶¶ 10-15.

               In order to protect the Affiliates’ assets from dissipation, the Court should enter an

      order enjoining the creditor Defendants from pursuing their claims directly against the

      Affiliates. Without such injunctive relief, the Debtor's reorganization efforts will be severely

      jeopardized.

                                             2.     DISCUSSION.

               This Court has subject matter jurisdiction over Debtor's motion for preliminary

      injunctive relief under 28 U.S.C. §§ 157 and 1334(b). Further, preliminary injunctive relief is

      warranted under 11 U.S.C. § 105(a) because the Debtor will suffer irreparable injury if

      Defendants are not enjoined.

      A.       THIS COURT HAS SUBJECT MATTER JURISDICTION.

               The Court has subject matter jurisdiction to grant preliminary injunctive relief because

      the requested relief is "related to" a proceeding under Title 11 of the United States Code.

      28 U.S.C. §§ 157 and 1334(b); In re Am. Hardwoods, Inc., 885 F.2d 621, 623 (9th Cir.

      1989). A civil proceeding is related to bankruptcy when "the outcome of the proceeding

      could conceivably have any effect on the estate being administered in bankruptcy." Id.

      (Quoting In re Fietz, 852 F.2d 455, 457 (9th Cir. 1988)). The proceeding need not

      necessarily be against the debtor or against the debtor's property. "An action is related to

      bankruptcy if the outcome could alter the debtor's rights, liabilities, options, or freedom of



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      action (either positively or negatively) and which in any way impacts upon the handling and

      administration of the bankruptcy estate." Id. (Quoting Fietz, 852 F.2d at 457).

               Thus, this Court has jurisdiction over Debtors' motion to enjoin and prohibit the

      Defendants from engaging in litigation or collection efforts against the Affiliates without an

      order of this Court, pending confirmation of a plan, if those efforts "could conceivably have

      any effect" on the administration of the bankruptcy estate. Id. Any attempt by the

      Defendants to collect against the Affiliates’ assets that would be available to the estate

      through voluntarily contribution through a plan of reorganization will undoubtedly affect the

      administration of Debtor's bankruptcy estate. Debtor's reorganization hinges upon the

      Affiliates' commitment to provide assets toward payment of claims in this case and of the

      Affiliates’ continued participation and involvement in the reorganization. If the Defendants

      are allowed to initiate litigation or collection actions against the Affiliates, Debtor will lose a

      main source of funding for its plan and Debtor will lose the Affiliates’ integral day-to-day

      business operation participation and involvement. Without the availability of these assets,

      the reorganization plan will likely fail. Absent an injunction, the Defendants may initiate

      litigation or collection actions against the Affiliates which would frustrate the Debtor's ability

      to propose a plan. Enjoining such behavior is clearly within the Court's subject matter

      jurisdiction. In re Otero Mills, Inc., 25 B.R. 1018, 1021 (D. N.M. 1982) (finding subject

      matter jurisdiction over debtor's request for an injunction against a creditor of the debtor's

      shareholder when the shareholder's pledge of assets to the debtor was vital to the

      reorganization plan).




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      B.       INJUNCTIVE RELIEF IS APPROPRIATE.

               1.    The Debtor will be irreparably harmed without an order from this Court

      providing the injunctive relief requested. Under 11 U.S.C. § 105(a), a bankruptcy court "may

      issue any order, process, or judgment that is necessary or appropriate to carry out the

      provisions of this title." Section 105(a) gives a bankruptcy court broad power to stay

      proceedings that are not subject to the Section 362(a) automatic stay, but nevertheless

      "threaten the integrity of the bankruptcy estate." In re Excel Innovations, Inc., 502 F.3d

      1086, 1093 (9th Cir. 2007) (citations omitted). Within a bankruptcy court's Section 105(a)

      authority is the power to protect a non-debtor by staying a creditor's court proceeding

      against the non-debtor. Id. at 1093-94; Otero Mills, 25 B.R. at 1020- 22.

                     The standard for granting Section 105(a) injunctive relief against
                     a non-debtor is the same as the Ninth Circuit's standard for
                     obtaining a temporary restraining order or preliminary injunction.
                     The moving party must show: (1) a strong likelihood of success
                     on the merits, (2) the possibility of irreparable injury to plaintiff if
                     preliminary relief is not granted, (3) a balance of hardships
                     favoring the plaintiff, and (4) advancement of the public interest
                     (in certain cases). Alternatively, a court may grant the injunction
                     if the plaintiff demonstrates either a combination of probable
                     success on the merits and the possibility of irreparable injury or
                     that serious questions are raised and the balance of hardships
                     tips sharply in his favor. As we have said many times regarding
                     the two alternative formulations of the preliminary injunction test:
                     These two formulations represent two points on a sliding scale in
                     which the required degree of irreparable harm increases as the
                     probability of success decreases. They are not separate tests
                     but rather outer reaches of a single continuum.

      Excel Innovations, Inc., 502 F.3d at 1093 (Emphasis in original.)

               "A debtor seeking to stay an action against a non-debtor must show a reasonable

      likelihood of a successful reorganization." Id. at 1095.




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                         3.      A SUCCESSFUL REORGANIZATION IS LIKELY.

               Debtor has continued to operate its business post-petition. The Debtor intends to

      propose a plan that will utilize its own assets and income, in addition to the contributions of

      the Affiliates, to provide the payment of all allowed claims. Full payment of all claims is

      unlikely without the contributions of the Affiliates or if the Affiliates are not able to devote

      their attention to the Debtor’s day-to-day business operations. An injunction under 11 U.S.C.

      § 105 has been found to be appropriate in other similar circumstances. Otero Mills, 25 B.R.

      at 1021-22 (Section 105(a) stay granted to protect non-debtor who intended to contribute

      assets to aid Chapter 11 plan); see also In re Johns-Manville Corp., 33 B.R. 254, 263-64

      (Bankr. S.D.N.Y. 1983) (Section 105 stay granted to protect non-debtors to preserve pools

      of insurance funds); 2 Collier on Bankruptcy, § 105.04[1][a][i] (16th 2019).

                         4.     DEBTOR WILL SUFFER IRREPARABLE INJURY
                                 IF THE INJUNCTION IS NOT GRANTED.

               Debtor's reorganization plan is potentially doomed for failure if this Court does not

      grant the injunctive relief requested. If the Affiliates are forced to defend collection actions or

      litigation brought by the Defendants, those assets would be used to satisfy only those

      creditors' claims at the expense of an equal distribution to all creditors. 2 Collier on

      Bankruptcy, § 105.02][1][b] (injunctive relief is appropriate where "the requested injunction

      seeks to halt actions which if unchecked could effectively reduce assets available for

      reorganization or distribution to creditors").

               5.      THE BALANCE OF HARDSHIPS TIPS IN FAVOR OF THE DEBTOR

               The Debtor and all its creditors will suffer much greater harm than the Defendants if

      this Court denies the Debtor's request for injunctive relief. Debtor will be unable to propose

      a confirmable plan if the Defendants are permitted to loot the assets for their own benefit in


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      an effort to receive a disproportionate recovery to that of the other creditors. In addition,

      extraneous litigation or collections efforts against the Affiliates will create a disincentive for

      them to contribute their assets, participation, and involvement to a plan. All parties' interests

      will be better served by ensuring that the assets and participation remain available to

      provide a fair and equitable distribution to the creditors in this case than being dissipated for

      the benefit of only a few creditors. See 2 Collier on Bankruptcy, § 105.04[1][a][i] (and cases

      cited therein discussing reasons for staying collection (efforts against non-debtors).

               In contrast, the Defendants stand to suffer little if this Court grants the injunctive

      relief. As long as the Affiliates are not being forced to defend litigation or collection actions

      against them, and the Defendants’ claims against them are preserved pending the

      confirmation of a plan, the Defendants will suffer no harm. Debtor is not requesting this

      Court to discharge the claims against the Affiliates or to grant a permanent injunction.

      Rather, the Debtor is only asking this Court to temporarily stay the initiation of litigation or

      collection actions against persons and entities that are secondarily liable for Debtor's

      obligations until a Chapter 11 plan is confirmed. If the Defendants are paid 100 percent of

      their claims from the bankruptcy estate, there will be no need to pursue further litigation or

      collection actions against the Affiliates. If a Chapter 11 plan is not confirmed, the case will

      either be dismissed or converted to Chapter 7. The assets will have been preserved, and

      the Defendants will thereafter be free to pursue their claims against the non-debtors. The

      injunction will merely delay the enforcement of the Defendants’ rights to pursue its claims

      until a Chapter 11 plan is confirmed. This mere delay will not cause the Defendants to

      suffer any significant harm. Lazarus Burman Assocs. v. Nat'l Westminster Bank USA (In re

      Lazarus Burman Assocs.), 161 B.R. 891, 901 (Bankr. E.D.N.Y. 1993).



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               Similar injunctions have also been granted as part of a confirmed plan, and Debtor

      will include such injunctive relief in its proposed plan. It would be a waste of the parties’

      time and money, and a waste of judicial resources to permit the initiation of litigation or

      collection actions against the Affiliates only to have the litigation or collection actions stayed

      by the confirmation order. See In re Regatta Bay, LLC, 406 B.R. 875 (Bankr. AZ 2009)

      (Denying stay pending appeal for an order confirming a Chapter 11 plan which included an

      injunction enjoining a creditor from pursuing claims against guarantors where the guarantors

      were integral to operation of the business and/or making substantial contributions of value

      to facilitate performance of the plan.).

                         6.     PUBLIC INTEREST FAVORS REORGANIZATION
                                   THROUGH A CONFIRMED PLAN.

               The public interest will be served by granting the Debtor its requested injunctive

      relief. "The public interest, in the context of a bankruptcy proceeding, is in promoting a

      successful reorganization." Lazarus Burman, 161 B.R. at 901 (citation omitted) Debtor

      seeks to propose a plan that will pay its creditors in full and allow it to emerge from

      bankruptcy debt free. This goal can more likely be achieved if the Court grants the injunctive

      relief requested. The injunction will facilitate confirmation of a plan that will benefit all

      creditors, thus furthering the public interest. See id.

                                                 7.     BOND.

                      No bond is required pursuant to FRBP 7065.




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                                8.     INJUNCTIONS OF THIS TYPE HAVE
                                     BEEN GRANTED IN THIS DISTRICT.

               The Hon. Trish M. Brown, in a decision in the Renaissance Custom Homes case,

      granted an injunction pursuant to 11 U.S.C. § 105 that prohibits certain creditors from

      pursuing their claims against the debtor's principal, non-debtor guarantor. In re

      Renaissance Custom Homes, LLC. v. BMC West Corp., et al, Case No. 08-03207-tmb11,

      Docket # 32, entered November 12, 2008. In that case, the non-debtor guarantor agreed to

      contribute substantial personal assets to the debtor's estate to be used in formulating a plan

      of reorganization. The court found the injunctive relief requested warranted because, just as

      is the case here, the creditors' actions against the non-debtor guarantor and the assets of

      non-debtor guarantor, if allowed to continue, could seriously jeopardize the debtor's

      reorganization efforts. See also In re Teufel Nursery, Inc., Case No. 09-34880-elp11, 2010

      Bankr. LEXIS 5526, at *11 (Bankr. D. Or. 2010)

                                            9.     CONCLUSION.

               This Court should grant Debtor’s request for preliminary injunctive relief. This Court

      has subject matter jurisdiction over Debtor’s request because any litigation or collection

      actions by the Defendants will affect the administration of Debtor's bankruptcy estate.

      Further, the Debtor has satisfied the prerequisites for obtaining preliminary injunctive relief.

      Debtor has shown that it is likely to obtain a successful reorganization if assets are

      preserved for contribution to the reorganizing debtor and the Affiliates are not jeopardized

      by the Defendants’ conduct. Debtor will suffer irreparable injury and its reorganization efforts

      will likely fail if the injunctive relief requested is not granted. The balance of hardships also

      tips in favor of the Debtor. Finally, the public interest favors the proposal of a Chapter 11

      plan that will utilize all available assets to make fair and equitable distributions to all


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      creditors. For these reasons, this Court should grant Debtor's Motion for a Temporary

      Restraining Order and Order to Show Cause

       Dated: December 30, 2019              VANDEN BOS & CHAPMAN, LLP



                                             By:/s/Douglas R. Ricks
                                                Douglas R. Ricks, OSB #044026
                                                Of Attorneys for Debtors-in-Possession




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                                                                                          Attorneys at Law
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In re PPV, Inc. - Ch 11 Case No. 19-34517-dwh11;
In re Bravo Environmental NW, Inc. - Ch 11 Case No. 19-34518-dwh11
Adv Pro No. _____________

                                CERTIFICATE - TRUE COPY

DATE:             December 30, 2019

DOCUMENT:         COMPLAINT (Injunctive Relief);
                  DECLARATION OF JAMES THUNEY IN SUPPORT OF MOTION
                  FOR TEMPORARY RESTRAINING ORDER AND MOTION FOR
                  ORDER TO SHOW CAUSE;
                  DECLARATION OF JOSEPH THUNEY IN SUPPORT OF MOTION
                  FOR TEMPORARY RESTRAINING ORDER AND MOTION FOR
                  ORDER TO SHOW CAUSE;
                  DECLARATION OF DOUGLAS R. RICKS IN SUPPORT OF MOTION
                  FOR TEMPORARY RESTRAINING ORDER AND MOTION FOR
                  ORDER TO SHOW CAUSE;
                  PLAINTIFF’S MOTION FOR EXPEDITED HEARING RE (1)
                  PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER;
                  AND (2) PLAINTIFF’S MOTION FOR ORDER TO SHOW CAUSE;
                  PLAINTIFF’S MOTION FOR ORDER TO SHOW CAUSE;
                  PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER;
                  and
                  MEMORANDUM IN SUPPORT OF MOTION FOR TEMPORARY
                  RESTRAINING ORDER AND MOTION FOR ORDER TO SHOW
                  CAUSE

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                                CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

 PPV, Inc.                                         Libertas Funding LLC
 Attn: Joseph J. Thuney                            Attn: Jessica Patrovic
 4927 NW Front Ave.                                382 Greenwich Ave. Ste. 2
 Portland, OR 97201                                Taftville, CT 06380

 Bravo Environmental NW, Inc.                      EBF Partners, LLC dba Everest Business
 Attn: Joseph J. Thuney                            Funding
 4927 NW Front Ave.                                5 West 37th St. Ste. 1100
 Portland, OR 97201                                New York, NY 10018

 Daniel J. Boverman                                Retail Capital LLC dba Credibly
 Boverman & Associates, LLC                        4026 N Miller Road, Ste. 200
 11285 SW Walker Rd.                               Scottsdale, AZ 85251
 Portland, OR 97225
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by mailing a copy of the above-named document to each of them in a sealed envelope,
addressed to each of them at his or her last known address. Said envelopes were
deposited in the Post Office at Portland, Oregon, on the above date, postage prepaid.

      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

 Dated: December 30, 2019            VANDEN BOS & CHAPMAN, LLP



                                     By:/s/Douglas R. Ricks
                                        Douglas R. Ricks, OSB #044026
                                        Of Attorneys for Debtors




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